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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                     AT LOUISVILLE


UNITED STATES OF AMERICA                                                                 PLAINTIFF


v.                                                 CRIMINAL ACTION NO. 3:22-CR-0088-DJH


PHIL PASCOE                                                                         DEFENDANTS
SCOTT TUBBS
MONICA PASCOE
QUADRANT MAGNETICS LLC


     JOINT MOTION TO ENTER FIRST MODIFIED AGREED PROTECTIVE ORDER
                      PURSUANT TO FED. R. CRIM. P. 16


        The United States of America and Defendants Quadrant Magnetics, Phil Pascoe, Monica

Pascoe, and Scott Tubbs move the Court to approve the attached First Modified Agreed Protective

Order in this matter concerning all previously disclosed and future disclosure in the case of United

States v. Quadrant Magnetics et al 3:22-cr-0088-DJH. In support thereof, the following is stated:

        1.     Fed. R. Crim. P. 16(d)(1) authorizes the court to regulate discovery. Under Rule

16, this Court may, for good cause, subject certain criminal discovery to a protective order.

Federal Rule of Criminal Procedure 16(d)(1) entitled “Protective and Modifying Orders,”

expressly authorizes the Court to issue protective orders: “At any time the court may, for good

cause, deny, restrict or defer discovery or inspection, or grant other appropriate relief.”

        2.     The Court entered an Agreed Protective Order in this matter on December 22, 2022

(DN 30). Paragraph 8 of the Agreed Protective Order permits the parties to see a modification of

the Order.

        3.     The charging document in this case alleges that defendants passed material believed

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to be controlled under the International Traffic in Arms Regulations (“ITAR”) to China. The State

Department’s Directorate of Defense Trade Controls (“DDTC”) determined through a process

known as a commodity jurisdiction that certain material defendants passed was in fact ITAR-

controlled. Defendants have requested information pertaining to that determination, which

involves consultation between the DDTC and other federal agencies (hereinafter “Commodity

Jurisdiction Information”). Defendants will offer evidence that the DDTC applied the wrong legal

standards for its commodity jurisdiction and that its conclusions regarding whether certain magnets

were ITAR controlled were flawed and inaccurate. The DDTC has informed the prosecution team

that some information regarding the commodity jurisdiction and the ultimate determination in this

case constitutes pre-decisional material, meaning material that is part of the official decision-

making process, and that the material is therefore subject to the deliberative process privilege.

Without conceding that any or all of the relevant material is discoverable under established law,

to accommodate defendants’ request and in the interest of potentially reducing the need for pretrial

litigation, the Government anticipates producing to defendants certain material pertaining to

DDTC’s determination in this case. Likewise, while defendants do not concede the materials

would be subject to the deliberative process privilege, in order to facilitate review, defendants

agree that a protective order is appropriate in light of the stated governmental interests. The

proposed Modified Agreed Protective Order is thus necessary to permit the government to produce

those materials to defendants for use in preparing their defense while maintaining the

government’s privileges applicable to such material.

       4.      The parties are in agreement with the contents of the attached First Modified

Agreed Protective Order and that the defendants agree that the United States may file it with their

signatures.


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        5.       Therefore, because of the nature of this case and the information which will be

disclosed, the parties respectfully request that the Court issue the attached First Modified Agreed

Protective Order1.

                                                   Respectfully submitted,

                                                   MICHAEL A. BENNETT
                                                   United States Attorney


                                                   s/Joshua Judd______________________________
                                                   Joshua Judd
                                                   Christopher Tieke
                                                   Assistant U.S. Attorneys
                                                   717 West Broadway
                                                   Louisville, Kentucky 40202
                                                   PH: (502) 582-5911


                                                   _s/ John Brownlee (w/ permission)______________
                                                   Caitlin Eberhardt, John Brownlee, & William Gould
                                                   Holland & Knight LLP
                                                   1650 Tysons Boulevard, Suite 1700
                                                   Tysons, VA 22102
                                                   Counsel for Quadrant Magnetics LLC.


                                                   _s/ Scott Cox (w/ permission)__________________
                                                   Scott Cox, Scott Coleman Cox, II, & Michael
                                                   Mazzoli
                                                   Cox & Mazzoli, PLLC
                                                   600 West Main Street, Suite 300
                                                   Louisville, KY 40202
                                                   Counsel for Monica Pascoe


                                                   _s/ Patrick Renn (w/ permission)________________
                                                   Patrick J. Renn
                                                   Smith & Helman
                                                   600 West Main Street, Suite 100
                                                   Louisville, KY 40202
                                                   Counsel for Scott Tubbs

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 The only substantive change to the Agreed Protective Order previously entered by this Court is the addition of
Paragraph 11 which specifically covers the Commodity Jurisdiction Information.

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                                               _s/ Kent Wicker (w/ permission)________________
                                               Kent Wicker, Kayla Campbell
                                               Wicker Brammell
                                               323 West Main Street
                                               Louisville, KY 40202
                                               Counsel for Phil Pascoe



                                 CERTIFICATE OF SERVICE

        I hereby certify that on January 24, 2024, I electronically filed the foregoing with the clerk
of the court by using the CM/ECF system, which will send a notice of electronic filing to counsel
for the defendants.

                                                 s/Joshua Judd________________
                                                 Joshua Judd
                                                 Assistant U.S. Attorney




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